Case 2:22-cv-00096-JTM-JVM Document 1-1 Filed 01/14/22 Page 1of9
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Section 1g0 IL Dh’ RICT COURT FOR THE PARISH OF ORLEANS rp icy COURT

STATE OF LOUISIANA

NO.: DIVISION “__”

SCHEWANDA BAPTISE
VERSUS

THE RITZ-CARLTON HOTEL COMPANY, LLC, TISHA C TUREA, and
- ABC INSURANCE COMPANY

FILED:

 

DEPUTY CLERK
PETITION FOR DAMAGES

The petitioner, Schewanda Baptiste, a person of full age of majority and
resident of and domiciled in the Parish of Orleans, State of Louisiana, with respect

represents:

That made defendants herein are:

1. The Ritz-Carlton Hotel Company, LLC, a foreign corporation
authorized to do and doing business in Louisiana;

2. Tisha Ciurea, a person of full age of majority who is domiciled in the
Panish of Calcasieu

3. ABC Insurance Company; unknown.

I.

Defendants are lable unto your Petitioner, Schewanda Baptiste, herein,
jointly, severally, and in solido for such damages as are reasonable, including but
not limited to, damages for past and future physical pain and suffering, past and
future mental pain and suffering, mental anguish, physical impairment and
disability, past and future medical expenses and rehabilitation expenses, loss of
services, loss of consortium, logs of society, and loss of enjoyment of life, as well as

penalties and attorney’s fees, together with legal interest thereon from the date of EXHIBIT

VERIFIED

Tracy Lafonta

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Secti pei 2 demand ux~" paid, and for all costs of these proceedings. DISTRICT COURT

HI.

On or about March 27, 2021, your petitioner, Schewanda Baptiste, was a guest

at the Ritz Carlton Spa located at 921 Canal Street, New Orleans, Louisiana 701 12.
Iv.

Petitioner was a patron of the Ritz Carlton Spa, and received a stress relief

massage from Defendant, Tisha Ciurea, which caused her injury.
V.

At all material times herein, Defendant, Ritz Carlton Hotel Company, LLC,
owned, managed and/or had the custody and guarde of the premises of the Ritz
Carlton Spa located at 921 Canal Street, New Orleans, Louisiana 70112, as they
owned and operated the spa.

VI.

At all relevant times, Tisha Ciurea was acting in the course and scope of her
employment with and/or for the benefit of the Ritz Carlton Spa, making Ritz Carlton
Hotel Company, LLC, vicariously liable for her actions under the law of respondeat
superior.

VIL

The above incident and all damages resulting therefrom were caused by no
fault or negligence of your petitioner, but caused by the negligence and/or fault of
Defendant, Tisha Ciurea, whose negligence and/or fault includes, but is not limited
to the following:

a. Failure to properly administer massage;

b. Failure to protect from unnecessary risk of harm:

c. Failure to use proper techniques;

d. Applying unnecessary force;

e. Lack of concentration;

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Case 2:22-cv-00096-JTM-JVM Document 1-1 Filed 01/14/22 Page 3 of 9
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DISTRICT COURT

g. Failure to check on the status on Petitioner’s condition throughout the

. . Inattentive cess;
Section 16
massage;

h. Failure to exercise reasonable care under the circumstances;
1 Any and all other acts of negligence to be proven at the trial of this matter.
All in violation of the statues of the State of Louisiana and Ordinances of the
Parish of Orleans, which statutes and ordinances are pleaded herein as if copied in
extenso.

And/or the fault and/or negligence of Defendant, Ritz Carlton Hotel
Company, LLC, which negligence and/or fault includes, but is not limited to the
following:

a. Negligent hiring;

b. Negligent supervision;

c. Negligent training;

d. Negligently entrusting its customer and patron to a massage therapist who

it knew or should have known was incompetent, careless and/or reckless;

e. Failing to ensure that its customer was safe and would not sustain injury

from massages;

f. Failure to exercise reasonable care under the circumstances;

g. Any and all other acts of negligence to be proven at the trial of this matter.

Allin violation of the statues of the State of Louisiana and Ordinances of the
Parish of Orleans, which statutes and ordinances are pleaded herein as if copied in
extenso.

VIL

As a result of the negligence and/or fault on the part of the Defendants,

Petitioner Schewanda Baptiste, sustained severe, permanent, and disabling personal

injuries.

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Case 2:22-cv-00096-JTM-JVM Document 1-1 Filed 01/14/22 Page 4 of 9
_ 2021-09681 FILED

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Section 16 Ix. DISTRICT COURT

At all material times herein, ABC Insurance Company provided a policy of
liability insurance to Defendant, Ritz Carlton Hotel Company, LLC, and so is liable
unto Plaintiff for the damages alleged herein.

X.

Plaintiff pleads the doctrine of res ipsa loguiur.

WHEREFORE, petitioner, Schewanda Baptiste, prays that Defendants, Ritz
Carlton Hotel Company, LLC, Trisha Ciurea, and ABC Insurance Company, be
cited and served with a copy of this Petition and after all legal delays and proceedings
be had, there be judgment rendered herein in favor of your petitioner and against
defendants, Schewanda Baptiste, Tisha Ciurea, and ABC Insurance Company, be

‘held liable for such damages as are reasonable in the premises, including but not
limited to, damages for past and future physical pain and suffering, past and future
mental pain and suffering, past and future Joss wages, loss of earning capacity,
mental anguish, physical impairment and disability, past and future medical
expenses, rehabilitation, and loss of society, together with legal interest thereon from
date of judicial demand until pain and for all costs of these proceedings.

Petitioner further prays for all general and equitable relief.

Respectfully submitted,

KIEFER & KIEFER

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MEGAN C. KIEFER (#32882)
NAT G. KEEFER, JR. (#1461)
LOUIS H. THOMAS, IIE (437329)
2310 Metairie Road

Metairie, Louisiana 7000]

(504) 828-3313

(504) 828-0024

 

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Case 2:22-cv-00096-JTM-JVM Document 1-1 Filed 01/14/22 Page 5 of 9
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Section tee Seay SE SERVL _ DISTRICT COURT

Ritz Carlton Hotel Company, LLC
Through its Agent for Service of Process
CT Corporation System

3867 Plaza Tower Drive

Baton Rouge, LA 708 16

Tisha Ciurea

1140 N. Hazel Street
Sulphur, LA 70663

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Case 2:22-cv-00096-JTM-JVM Document 1-1 Filed 01/14/22 Page 6 of 9

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Section 1601 E De eatICT COURT FOR THE PARISH OF ORLEANS rpict court

STATE OF LOUISIANA
NO. DIVISION “__”
SCHEWANDA BAPTISE
VERSUS

THE RITZ-CARLTON HOTEL COMPANY, LLC, TISHA CIUREA, and
ABC INSURANCE COMPANY.

FILED:

 

DEPUTY CLERK
REQUEST FOR NOTICE

In accordance with LSA-C.C.P. Article 1572, you are requested to give
plaintiff, Schewanda Baptiste, written notice by mail ten (10) days in advance of the
date fixed for the trial or hearing of this case, whether on exceptions, motions, rules
or the merits. We also request immediate notice of all orders of judgments, whether
interlocutory or final, made or rendered, in this case upon the rendition thereof as
provided by LSA-C.C.P. Articles 1913 and 1914, including notice of judgment in
the event this case be taken under advisement, or if the judgment is not signed at the
conclusion of the trial.

Respectfully submitted,

KIEFER & KIEFER

a

MEGAN C. KIEFER (Bar No. 32882)

_ NAT G. KIEFER, JR. (Bar No. 1461)
LOUIS H. THOMAS, II (Bar No. 37329)
2310 Metairie Road
Metairie, LA 70001
Telephone: (504) 828-3313
Facsimile: (504) 828-0024

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Case 2:22-cv-00096-JTM-JVM Document 1-1 Filed 01/14/22 Page 7 of 9

FILED

CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
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STATE OF LOUISIANA CWIL
No. 2021-09681 DIVISION “A” DISTHEHERGRT
SCHEWANDA BAPTISTE
VERSUS

THE RITZ-CARLTON HOTEL COMPANY, LLC, ET AL.

FILED:

 

DEPUTY CLERK

UNOPPOSED MOTION FOR EXTENSION
OF TIME WITHIN WHICH TO FILE RESPONSIVE PLEADINGS

NOW INTO COURT, through undersigned counsel, comes Defendant, The Ritz-Carlton
Hotel Company, LLC, and upon suggesting to the Court that additional time for filing responsive
pleadings, is required by Defendants, and who request the Court to grant an extension of thirty

(30) days from the due date, or until January 29, 2022, within which to answer or otherwise respond

to the Petition for Damages of plaintiff.

Defendant, The Ritz-Carlton Hotel Company, LLC certifies that this is the first extension
of time which Defendant has requested of this Honorable Court. Counsel for plaintiff, Schewanda

Baptiste, has been contacted and has no objection to this Motion.

Respectfully submitted,

OSTE R (LE. LLP
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LANCE'S. OSTENDORF (LSBA #10271)
G. ALSOBROOK (LSBA #20080)
650 Poydras St., Suite 1460
New Orleans, LA 70130
Telephone: (504) 324-2244
Facsimile: (504) 208-3447
COUNSEL FOR DEFENDANT,
THE RITZ-CARLTON HOTEL COMPANY, LLC

CERTIFICATE OF SERVICE

 

Thereby certify that a copy of the above and foregoing pleading has been served upon all
counsel of record in these proceedings via facsimile and/or by depositing same in the United States
Mail, postage prepaid and properly addressed, this Aor day December, 2021.

ZG. hE

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STATE OF LOUISIANA Ml DEC 39 PH 2: pz
No. 2021-09681 DIVISION “A” SECDION iv I ourr
SCHEWANDA BAPTISTE
VERSUS

THE RITZ-CARLTON HOTEL COMPANY, LLC, ET AL.

FILED:

 

DEPUTY CLERK
ORDER
CONSIDERING the above and foregoing Unopposed Motion;
IT IS ORDERED that Defendant’s Unopposed Motion for Extension of Time Within
Which to File Responsive Pleadings is hereby granted; and, Defendants have until January 29,

2022, within which to file responsive pleadings to plaintiff's Petition for Damages.

JAN 04 2822

New Orleans, Louisiana, this day of

2021/2022.

     

ONORABLE ELLEN M)HAZEUR

VERIFIED
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CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
STATE OF LOUISIANA QR OEC 30 PH ¥2: 47
No. 2021-09681 DIVISION “A” CIVéicTION 16
DISTRICT T COURT
SCHEWANDA BAPTISTE
VERSUS

THE RITZ-CARLTON HOTEL COMPANY, LLC, ET AL.

FILED:

 

 

DEPUTY CLERK
REQUEST FOR NOTICE

NOW INTO COURT, comes Defendant, The Ritz-Carlton Hotel Company, LLC,
which pursuant to the provisions of LSA CCP Articles 1913 and 1914, requests that the
clerk give the undersigned counsel ten (10) days’ notice of the signing of any Order and/or
Judgment herein.

IT IS FURTHER requested that the clerk give written notice of the trial date, or the
date set for hearing or the date of any motions or pleadings, at least ten (10) days before said
trial or hearing date, pursuant to the provisions of LSA CCP 1572.

Respectfully submitted,

OSTENDORF TA Zo pe LLP

LABELS: OSTENDORF (LSBA #10271)
ees G. ALSOBROOK (LSBA # 20080)
650 Poydras Street, Suite 1460
New Orleans, LA 70130
Telephone: (504) 324-2244
Facsimile: (504) 208-3477
COUNSEL FOR DEFENDANT,
THE RITZ-CARLTON HOTEL COMPANY, LLC

CERTIFICATE OF SERVICE
Thereby certify that a copy of the above and foregoing has been served on counsel of

record by placing the same in the U.S. mail; postage prepaid and properly addressed, this

Phy of Deeern dan , 2021. /
BE I

EANCE S. OSTENDORF
JOHN G. ALSOBROOK

VERIFIED
